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1    LOUIS M. BUBALA III, ESQ.
     State Bar No.: 8974
2    ARMSTRONG TEASDALE LLP
     50 W. Liberty St., Ste. 950
3    Reno, NV 89501
     Telephone: 775.322.7400
4    Fax: 775.322.9049
     Email: lbubala@armstrongteasdale.com
5      and bsalinas@armstrongteasdale.com
6    Attorneys for Plaintiff
7                                  UNITED STATES DISTRICT COURT
8                                         DISTRICT OF NEVADA
9    BRANCH BANKING & TRUST CO.,        )                     Case No.: 3:12-cv-00279-___-________
                                        )
10              Plaintiff,              )                     DECLARATION OF LOUIS M. BUBALA
           vs.                          )                     III IN SUPPORT OF EMERGENCY
11                                      )                     MOTION AND PROPOSED ORDER
     BIG STUFF STORAGE LLC; MARY C.     )                     FOR TEMPORARY RESTRAINING
12   MILLER; JOHN A. SCHOPF, JR.; WENDY )                     ORDER, PRELIMINARY INJUNCTION
     AUSLEN SCHOPF; and CITY OF RENO,   )                     AND APPOINTMENT OF A RECEIVER
13                                      )
                Defendants.             )
14
            I, Louis M. Bubala III, declare as follows:
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            1. My law firm is counsel to Plaintiff Branch Banking & Trust Co. (“BB&T”) in this case
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     and the related bankruptcy case, In re Big Stuff Storage LLC, Case No. BK-N-10-50471-GWZ
17
     (Bankr. D. Nev.). I am a partner in the firm and have been lead counsel on this matter since 2010. I
18
     have been a member of the Nevada State Bar since 2004, admitted to practice before the federal
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     courts of Nevada since 2005, and been in good standing at all times.
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            2. Pursuant to Local Rule 7-5 regarding the filing of emergency motions, I have filed this as
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     an emergency motion to preserve the value of Defendant Big Stuff Storage’s storage business, the
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     collateral securing BB&T’s note and first priority deed of trust. The property currently is being
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     managed by the bankruptcy trustee, Christina Lovato. Late on Friday, May 11, 2012, I spoke with
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     Ms. Lovato and she informed me of her intent to abandon the property as of June 1, 2012. Ms.
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     Lovato filed a motion with the Bankruptcy Court on May 24, 2012, seeking approval of her
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     abandonment. Based on my experience in bankruptcy court and knowledge of the Big Stuff
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     bankruptcy case, I believe the motion will be granted.
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1            3. I have no reason to believe the Big Stuff can or will manage the property. BB&T already
2    has recorded a notice of default. I am advised that a notice of sale will be recorded on May 25, 2012,
3    and a non-judicial foreclosure sale is anticipated to occur on June 18, 2012. If this motion is not
4    heard on an emergency basis, there is substantial risk that Big Stuff’s storage property (and BB&T’s
5    economic interest in the property as its collateral) will be irreparably harmed due to a lack of
6    management and the demise of the business as a going concern.
7            4. Below are the office addresses, phone numbers, and emails, to the extent known, of all
8    affected parties, and the efforts to contact them. The address and phone number of movant’s counsel
9    is listed at the start of this declaration.
10           Big Stuff Storage LLC (borrower/defendant)
11           John Gezelin, Esq., bankruptcy counsel for Big Stuff
12                   Law Office of Alan R. Smith, 505 Ridge St., Reno, NV 89501
13                   Office, (775) 786-4579
14                   Email, mail@asmithlaw.com
15                   Emailed on May 22, 23 & 24, 2012, advising of impending lawsuit and motion, and
16                            requesting consent to appointment of receiver. Mr. Gezelin responded the
17                            morning of May 23 that he would ask his client. I have not received further
18                            response.
19           Alan and Elizabeth Huber, managing members for Big Stuff
20                   7560 Hillview Drive, Reno, NV 89506 (address per Nevada Secretary of State)
21                   Phone number unknown
22                   Email, ajhuber@charter.net.
23           Mark and Giselle Huber, members of Big Stuff
24                   1570 Blaine Ave., Salt Lake City, UT 84105 (address per bankruptcy filing in Utah)
25                   Phone number unknown
26                   Email, mark@markhuber.com.
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1    Miller/Schopf Defendants (beneficiaries of second priority deed of trust)
2    Sallie Armstrong, Esq., Downey Brand LLP, bankruptcy counsel for Z Servicing, Inc.,
3           servicing agent for Miller/Schopf Defendants
4           427 Plumb Ln., Reno, NV 89509
5           Office, (775) 329-5900
6           Email, sarmstrong@downeybrand.com.
7           Emailed on May 22, 2012, advising of impending lawsuit and motion, and requesting
8                   consent to appointment of receiver requesting consent to appointment of
9                   receiver. Ms. Armstrong responded that she has closed her file but forwarded
10                  my email to her client contact.
11   Wayne Snyder, president, treasurer and registered agent for Z Servicing, Inc.
12          1089 Deer Cliff, P.O. Box 770, Zephyr Cove, NV 89448
13          Office, (775) 588-2509
14          Email, wayne@zlai.com
15          Called on May 23, 2012. Mr. Snyder advised that Mr. Schopf is his business partner
16                  in Z Servicing, Inc., and the related Z Loan & Investment, LLC. He also
17                  advised that Mr. and Mrs. Schopf are husband and wife, and that Ms. Miller is
18                  Mr. Schopf’s mother. Mr. Snyder advised that Ms. Armstrong was no longer
19                  engaged by Z Loan, but that he is authorized to accept service for the
20                  Schopf/Miller Defendants and that they do not oppose the appointment of a
21                  receiver. He also advised that the Schopf/Miller Defendants reside in Douglas
22                  County, Nevada.
23   Mary C. Miller, John A. Schopf, Jr., and Wendy Auslen Schopf
24          I do not immediately have addresses, phone numbers or emails for them, as this
25                  information is not provided on their deed of trust.
26   City of Reno (lien holder for $575 in unpaid sewer fees)
27   Susan Ball Rothe, Esq., Deputy City Attorney for City of Reno
28          One East First Street, Reno, NV 89501


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1                   Office, (775) 334-2050
2                   Email, rothes@reno.gov
3                   Emailed City Attorney John Kadlic on May 22, 2012, advising of impending lawsuit
4                          and motion, and requesting. On May 23, 2012, I spoke and emailed with
5                          Deputy City Attorneys Susan Ball Rothe and Jonathan Shipman. Ms. Rothe
6                          stated that the city did not oppose the appointment of a receiver.
7           Bankruptcy Trustee (notice purposes only)
8           Christina Lovato, Chapter 7 Bankruptcy Trustee for Big Stuff Storage LLC
9                   P.O. Box 18417, Reno, NV 89511
10                  Office, (775) 851-1424
11                  Email, trusteelovato@att.net.
12                  Emailed on May 22-23, 2012, advising of impending complaint and motion. Ms.
13                         Lovato responded that she does not oppose the appointment of a receiver.
14          5. After personal consultation and sincere effort to do so, I have been unable to resolve the
15   matter without Court action. It also is my understanding based on my prior research within the last
16   year that the State of Nevada considers the appointment of a receiver to be a matter of law, and that a
17   receiver may not be appointed without a court order.
18          I declare under penalty of perjury that the foregoing is true and correct.
19          Executed on this 24th day of May, 2012.
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21          _/s/Louis M. Bubala III________
22          LOUIS M. BUBALA III
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